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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 Judge Robert W. Schroeder III

 VIRNETX INC., et al                 §
                                     §
 V.                                  §     CIVIL NO. 6:12cv855
                                     §
 APPLE INC.                          §
 ________________________________________________________________________
                       MINUTES FOR STATUS CONFERENCE
                 HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                 APRIL 14, 2020

 OPEN: 10:10 a.m.                                      ADJOURN: 11:29 a.m.
 _____________________________________________________________________________
 ATTORNEY FOR PLAINTIFFS: Brad Caldwell, Jason Cassady, Austin Curry, and Johnny
                               Ward

 ATTORNEY FOR DEFENDANTS: Greg Arovas, Robert Appleby, Joseph Loy, Jeannie
                         Heffernan, Leslie Schmidt, Akshay Deoras, and Mike
                          Jones

 LAW CLERK:                          Kain Day

 COURTROOM DEPUTY:                   Betty Schroeder

 COURT REPORTER:               Cindy Donald
 ______________________________________________________________________________
 ______________________________________________________________________________

 (VIA TELEPHONE)

 10:10 a.m.    Case called; parties introduced themselves and announced ready; Court welcomes
               everyone and gives preliminary comments

 10:15 a.m.    Mr. Brad Caldwell argues the Motion for Entry of Judgment (dkt. #824)

 10:17 a.m.    Court questions Mr. Caldwell; Mr. Caldwell responds

 10:24 a.m.    Court responds regarding the “normal rule;” Mr. Caldwell responds; Court
               questions Mr. Caldwell regarding what the jury did not decide; Mr. Caldwell
               responds
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 10:30 a.m.   Court questions Mr. Caldwell as to why Fifth Circuit law would apply; Mr.
              Caldwell responds

 10:32 a.m.   Court questions Mr. Caldwell that if based on evidence presented at trial, couldn’t
              the jury have adopted a royalty rate between $1.20 and $1.67 for devices with
              both FaceTime and VPN on Demand and a royalty rate below $1.20 for devices
              with only FaceTime; Mr. Caldwell responds

 10:37 a.m.   Court questions Mr. Caldwell that if neither party at trial proposed a per-patent or
              per-feature damages question, how does that impact the Court’s analysis; Mr.
              Caldwell responds

 10:38 a.m.   Court questions Mr. Caldwell as to how can the Court answer the question
              regarding the jury never assigning a royalty rate to any products that only
              infringed VPN on Demand without nullifying Apple’s jury trial right; Mr.
              Caldwell responds

 10:40 a.m.   Court questions Mr. Caldwell regarding the Court’s discretion of ordering a new
              trial; Mr. Caldwell responds

 10:45 a.m.   Mr. Greg Arovas responds to argument

 10:50 a.m.   Court questions Mr. Arovas as to Mr. Caldwell’s response that Apple, the Court
              and everyone else knew that the jury had adopted Mr. Weinstein’s opinion; Mr.
              Arovas responds

 10:53 a.m.   Court questions Mr. Arovas on how, based on the trial record, could the jury reach
              the conclusion it reached without adopting Mr. Weinstein’s feature-independent
              royalty rate opinions; Mr. Arovas responds

 11:00 a.m.   Mr. Arovas continues with his response to Mr. Caldwell’s argument

 11:05 a.m.   Court questions Mr. Arovas as to why did the features involved in the jury verdict
              form make a difference when Apple admitted that the jury adopted a royalty rate
              that was independent of features for some of the devices; Mr. Arovas responds

 11:07 a.m.   Mr. Arovas responds to the question from the Court in its Order regarding
              additional discovery if a new trial is ordered; would need at least a few months

 11:11 a.m.   Mr. Caldwell responds to Mr. Arovas’ comments

 11:18 a.m.   Mr. Caldwell responds to the issue of additional discovery; doesn’t see the need

 11:22 a.m.   Mr. Arovas responds regarding the new discovery and new trial issues
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 11:26 a.m.   Mr. Caldwell responds

 11:28 a.m.   Court appreciates the parties’ arguments; parties need to file slides used in
              presentation; Order will be forthcoming

 11:29 a.m.   Recess
